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E) U.S. Department of Justice
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U.S. DISTRICT COURT
DISTRICT OF MARYLAND

 

United States Attorney
District of Maryland -
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Clinton J. Fuchs Clinton. Fuchs@usdoj.gov
Assistant United States Attorney
September 26, 2011
Thomas J. Saunders, Esq.
Law Office of Thomas J Saunders
3600 Clipper Mill Rd., Suite 201
Baltimore, MD 21211

Re: Plea Agreement in the Case of

United States v_ Jermaine Lawson
Criminal No. WMN 11-337

Dear Mr. Saunders:

This letter, together with the Sealed Supplement, confirms the piea agreement which has been
offered to the Defendant by the United States Attorney’s Office for the District of Maryland (“this
Office”). If the Defendant accepts this offer, please have him execute it in the spaces provided below. If
this offer has not been accepted by October 14, 2011, it will be deemed withdrawn. The terms of the
agreement are as follows:

Offenses of Conviction

1. The Defendant agrees to plead guilty to Counts One and Two of the Indictment
now pending against him, to wit, Conspiracy to Interfere with Interstate Commerce by Robbery, in
violation of 18 U.S.C. § 1951 and Possession of a Firearm in Furtherance of a Crime of Violence, in
violation of 18 U.S.C. § 924(c). The Defendant admits that he is, in fact, guilty of this offense and will
so advise the Court.

Elements of the Offenses

2. The elements of the offenses to which the Defendant has agreed to plead guilty,
and which this Office would prove if the case went to trial, are as follows:
 

 

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Count One

On or about September 7, 2010, in the District of Maryland, the Defendant agreed
with another individual:

a. to obtain property from another without that person's consent; and

b. do so by wrongful use of actual or threatened force, violence, or
fear; and

c. as aresult of the Defendant's actions, interstate commerce, or an

item moving in interstate commerce, was actually or potentially
delayed, obstructed, or affected in some way or degree.

Count Two
On or about September 7, 2010, in the District of Maryland, the Defendant:
a. Possessed a firearm; and

b. The Defendant possessed the firearm in furtherance of a crime
of violence for which he could be prosecuted in a court of the
United States, that is, Conspiracy to Interfere with Interstate
Commerce by Robbery, in violation of 18 U.S.C. § 1951; and

Penalties

3. The maximum sentence provided by statute for the offense to which the
Defendant is pleading guilty is as follows: Count One: twenty (20) years imprisonment; a
$250,000 fine; and a period of supervised release of up to three (3) years; Count Two: life
imprisonment {with a five-year mandatory minimum term of imprisonment consecutive to any
other term of imprisonment imposed); a $250,000 fine; and a period of supervised release of up
to five (5) years. In addition, the Defendant must pay $100 as a special assessment pursuant to
18 U.S.C. § 3033, which will be due and should be paid at or before the time of sentencing. This
Court may also order him to make restitution pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664.'
Ifa fine or restitution is imposed, it shall be payable immediately, unless, pursuant to 18 U.S.C. §

 

1 Pursuant to 18 U.S.C. § 3612, if the Court imposes a fine in excess of $2,500 that
remains unpaid 15 days after it is imposed, the Defendant shall be charged interest on that fine,
unless the Court modifies the interest payment in accordance with 18 U.S.C. § 3612(f)(3).

 

 
 

 

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3572(d), the Court orders otherwise. The Defendant understands that if he serves a term of
imprisonment, is released on supervised release, and then violates the conditions of his

_ supervised release, his supervised release could be revoked - even on the last day of the term -
and the Defendant could be returned to custody to serve another period of incarceration and a
new term of supervised release. The Defendant understands that the Bureau of Prisons has sole
discretion in designating the institution at which the Defendant will serve any term of
imprisonment imposed.

Waiver of Rights

4, The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

a. If the Defendant had persisted in his plea of not guilty, he would have
had the right to a speedy jury trial with the close assistance of competent counsel. That trial could
be conducted by a judge, without a jury, if the Defendant, this Office, and the Court ali agreed.

b. if the Defendant elected a jury trial, the jury would be composed of
twelve individuals selected from the community. Counsel and the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors peremptorily. All
twelve jurors would have to agree unanimously before the Defendant could be found guilty of any
count. The jury would be instructed that the Defendant was presumed to be innocent, and that
presumption could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the government would have the burden
of proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the government’s witnesses. The Defendant would not have to present
any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in his
defense, however, he would have the subpoena power of the Court to compel the witnesses to attend.

d. The Defendant would have the right to testify in his own defense if he
so chose, and he would have the right to refuse to testify. If he chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

e. Ifthe Defendant were found guilty after a trial, he would have the right
to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges against
him. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the
Court’s decisions.

 
 

 

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f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have to
answer the Court’s questions both about the rights he is giving up and about the facts of his case.
Any statements the Defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, there will be no
further trial or proceeding of any kind, and the Court will find him guilty.

h. By pleading guilty, the Defendant will also be giving up certain
valuable civil rights and may be subject to deportation or other loss of immigration status.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing
guidelines range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing
Reform Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e))
and 28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose
a sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant understand, agree and stipulate to the following
Statement of Facts, which this Office would prove beyond a reasonable doubt, and to the following
applicable sentencing guidelines factors:

a. Statement of Facts

On September 7, 2010, the Defendant, Jermaine Lawson, and two co-conspirators
agreed to rob “Knockout Cuts By Kevin,” a barbershop located at 1301 West Lombard Street in
Baltimore, Maryland, Later that day, the Defendant entered the store with his two co-
conspirators, one of whom was armed with a handgun, and all three co-conspirators robbed the
employees and customers of cash and cellphones. Some of the money stolen from the employees
represented the proceeds of the shop’s operations. The handgun carried by one of the co-
conspirators was possessed in furtherance of the robbery of the barbershop.

“Knockout Cuts By Kevin” is a business engaged in interstate commerce insofar
as the supplies used by the shop are produced outside of the state of Maryland and insofar as

 
 

 

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customers travel to the store from outside of Maryland. As a result of the robbery, interstate
commerce, or items moving in interstate commerce, were actually affected.

b. Guideline Stipulations

The parties stipulate and agree that as to Count One, the base offense level is at
least 20 pursuant to U.S.S.G. § 2B3.1i(a).

The parties further stipulate and agree that as to Count Two, the guideline
sentence for Possession of a Firearm in Furtherance of a Crime of Violence, is 60 months
imprisonment, pursuant to U.S.8.G. § 2K2.4(b) and 18 U.S.C. § 924(c)(1)(A)@). The
Defendant understands that the sentence imposed for this offense must run consecutively to any
other sentence imposed by the Court for any other offense.

c. Acceptance of Responsibility

This Office does not oppose a two-level reduction in the Defendant’s adjusted
offense level, based upon the Defendant’s apparent prompt recognition and affirmative
‘acceptance of personal responsibility for his criminal conduct. This Office agrees to make a
motion pursuant to U.S.S.G. § 3E1.1(b) for an additional one-level decrease in recognition of the
Defendant’s timely notification of his intention to plead guilty. This Office may oppose any
adjustment for acceptance of responsibility if the Defendant (a) fails to admit each and every item
in the factual stipulation; (b) denies involvement in the offense; (c) gives conflicting statements
about his involvement in the offense; (d) is untruthful with the Court, this Office, or the United
States Probation Office; (e) obstructs or attempts to obstruct justice prior to sentencing; (f)
engages in any criminal conduct between the date of this agreement and the date of sentencing;
or (g) attempts to withdraw his plea of guilty. Based on the foregoing, the Defendant’s adjusted
base offense level for Count One would be 17.

7. The Defendant understands that there is no agreement as to his criminal
history or crimina! history category, and that his criminal history could alter his offense level if
he is a career offender or if the instant conduct was part of a pattern of criminal conduct from
which he derived a substantia! portion of his income.

8. Other than as set forth above, this Office and the Defendant agree that with
respect to the calculation of the advisory guidelines range, no other offense characteristics,
sentencing guidelines factors, or potential departures or adjustments set forth in the United States
Sentencing Guidelines will be raised or are in dispute.

 
 

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Obligations of the United States Attorney’s Office
9, At the time of sentencing, this Office will recommend a sentence within

the applicable guidelines range.

10. The parties reserve the right to bring to the Court’s attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant’s background, character and conduct.

Restitution

lt. The Defendant agrees to the entry of a Restitution Order for the full
amount of the victims’ losses. The Defendant agrees that, pursuant to 18 U.S.C. §§ 3663 and
3663A and §§ 3563(b)(2) and 3583(d), the Court may order restitution of the full amount of the
actual, total foss caused by the offense conduct set forth in the factual stipulation. The Defendant
further agrees that he will fully disclose to the probation officer and to the Court, subject to the
penalty of perjury, all information, including but not limited to copies of all relevant bank and
financial records, regarding the current location and prior disposition of all funds obtained as a
result of the criminal conduct set forth in the factual stipulation. The Defendant further agrees to
take all reasonable steps to retrieve or repatriate any such funds and to make them available for
restitution. If the Defendant does not fulfill this provision, it will be considered a material breach
of this plea agreement, and this Office may seek to be relieved of its obligations under this

agreement.

Waiver of Appeal

12, _ In exchange for the concessions made by this Office and the Defendant in
this plea agreement, this Office and the Defendant waive their rights to appeal as follows:

a) The Defendant knowingly waives all right, pursuant to 28
U.S.C. § 1291 or otherwise, to appeal the Defendant’s
conviction;

b) The Defendant and this Office knowingly waive all right,
pursuant to 18 U.S.C. § 3742 or otherwise, to appeal
whatever sentence is imposed (including the right to appeal
any issues that relate to the establishment of the advisory
guidelines range, the determination of the defendant’s
criminal history, the weighing of the sentencing factors, and
the decision whether to impose and the calculation of any
term of imprisonment, fine, order of forfeiture, order of

 

 

 
 

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restitution, and term or condition of supervised release),
except as follows: (i) as to Count One, the Defendant
reserves the right to appeal from any sentence above the
advisory guidelines range resulting from an adjusted base
offense level of 17, and as to Count Two, the Defendant
reserves the right to appeal any term of imprisonment to the
extent that it exceeds 60 months imprisonment,
consecutive to any term of imprisonment imposed on Count
One; and (ii) as to Count One, this Office reserves the right
to appeal from any sentence below the advisory guidelines
range resulting from an adjusted base offense level of 17,
and as to Count Three, this Office reserves the right to
appeal any term of imprisonment to the extent that it is less
than 60 months imprisonment, consecutive to any term of
imprisonment imposed on Count One

c) Nothing in this agreement shall be construed to prevent the
Defendant or this Office from invoking the provisions of Federal
Rule of Criminal Procedure 35{a), or from appealing from any
decision thereunder, should a sentence be imposed that resulted
from arithmetical, technical, or other clear error.

d) The Defendant waives any and all rights under the Freedom of
Information Act relating to the investigation and prosecution of the
above-captioned matter and agrees not to file any request for
documents from this Office or any investigating agency.

Obstruction or Other Violations of Law

13. The Defendant agrees that he wi!l not commit any offense in violation of
federal, state or local law between the date of this agreement and his sentencing in this case. In
the event that the Defendant (i) engages in conduct after the date of this agreement which would
justify a finding of obstruction of justice under U.S.S.G. § 3C1.1, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or local
law, then this Office will be relieved of its obligations to the Defendant as reflected in this
agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations
other than those set out in this agreement. As with any alleged breach of this agreement, this
Office will bear the burden of convincing the Court of the Defendant’s obstructive or unlawful
behavior and/or failure to acknowledge personal responsibility by a preponderance of the

 
 

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evidence. The Defendant acknowledges that he may not withdraw his guilty plea because this
Office is relieved of its obligations under the agreement pursuant to this paragraph.

Court Not a Party

14. The Defendant expressly understands that the Court is not a party to this
agreement. In the federal system, the sentence to be imposed is within the sole discretion of the
Court. In particular, the Defendant understands that neither the United States Probation Office
nor the Court is bound by the stipulation set forth above, and that the Court will, with the aid of
the Presentence Report, determine the facts relevant to sentencing. The Defendant understands
that the Court cannot rely exclusively upon the stipulation in ascertaining the factors relevant to
the determination of sentence. Rather, in determining the factual basis for the sentence, the
Court will consider the stipulation, together with the results of the presentence investigation, and
any other relevant information. The Defendant understands that the Court is under no obligation
to accept this Office’s recommendations, and the Court has the power to impose a sentence up to
and including the statutory maximum stated above. The Defendant understands that if the Court
ascertains factors different from those contained in the stipulation set forth above, or if the Court
should impose any sentence up to the maximum established by statute, the Defendant cannot, for
that reason alone, withdraw his guilty plea, and will remain bound to fulfill all of his obligations
under this agreement. The Defendant understands that neither the prosecutor, his counsel, nor
the Court can make a binding prediction, promise, or representation as to what guidelines range
or sentence the Defendant will receive. The Defendant agrees that no one has made such a
binding prediction or promise.

Entire Agreement

15. This letter supersedes any prior understandings, promises, or conditions
between this Office and the Defendant and, along with the Sealed Supplement, constitutes the
complete plea agreement in this case. The Defendant acknowledges that there are no other
agreements, promises, undertakings or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement and none will be entered into
unless in writing and signed by all parties.

 

 
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If the Defendant fully accepts each and every term and condition of this letter, please sign
and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Rod J. Rosenstein
United States Attorney

By: /sf
Clinton J. Fuchs
Assistant United States Attomey

 

 
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I have read this agreement, including the Sealed Supplement, and carefully
reviewed every part of it with my attorney. I understand it, and I voluntarily agree to it.
Specifically, I have reviewed the Factual and Advisory Guidelines Stipulation with my attorney,
and 1 do not wish to change any part of it. I am completely satisfied with the representation of

 

my attorney.
MEL 28/1) emul fue
Date Jermaine Lawson

lam Jermaine Lawson’s attorney I have carefully reviewed every part of this
apreement, including the Sealed Supplement, with him. He advises me that he understands and
accepts its terms. To my knowledge, his decision to enter into this agreement is an informed and

voluntary one.
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Date Thomas Satinders, Esq.
